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 CASEY D. ALLEN                                                                MAR   -3   2015

                                                                              U'S,COURTff
                       Plaintiff,                                            FEDERALCI.AS'I

               v.
                                                          No. 12-42C
 UNITED STATES,                                           Filed: March 3,2015

                      Defendant.
 ********


                                         ORDER
         Plaintiff is one of twelve current or former employees of the United States
Department of Agriculture, Forest Service, employed in the Los Padres National Forest
in Cafifornia, who filed a complaint on January 19, 2012, to recover $2,500,000.00 in
damages. The complaint brought by these plaintiffs was filed in the United States
District Court for the Central District of California on behalf of the plaintiffs by counsel.
Subsequently, however, plaintiffs filed a stipulation of dismissal in that court, and the
District Court dismissed the complaint, without prejudice. See Casev D. Allen. et al.. v.
Ed Schafer, et al., No. 08-8391 (C.D. Cal. Dec. 8, 2009). When plaintiffs filed their
complaint in the United States Court of Federal Claims on January 19, 2012,
represented by different counsel. Plaintiffs' original attorney of record in this court was
Michael D. Daniels. Subsequently, Bennett Rolfe, who was one of the original attorneys
in the District Court case, replaced Mr. Daniels as plaintiffs' counsel. After Mr. Rolfe
passed away, certain plaintiffs filed motions to represent themselves pro se, which the
court granted, continuing their cases pursuant to the initial complaint filed by the
plaintiffs in this court.

       On October 7, 2013, the court consolidated plaintiffs case with the eleven other
pro se plaintiffs, and designating Mr. Allen's case as the lead case. After consolation,
the defendant filed a motion to dismiss count two in plaintiffs' complaint, plaintiffs'
breach of contract claims. On January 22,2015, this court issued an opinion in the
above captioned cases dismissing count two in plaintiffs' complaint, plaintiffs' breach of
contract claims. On February 4,2015, the court issued an order instructing:

       each plaintiff shall file with the court, and send copies to the defendant, a
       notice indicating whether or not each such individual wishes to proceed
       with count one of their complaint, the Fifth Amendment takings claims.
       The notice shall be filed on or before Friday, February 20,2015. Plaintiffs
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       may consult private counsel or continue to proceed pro se, which is
       cunently their status in the cases filed in this court. Plaintiffs also may
       confer with counsel of record for the defendant prior to filing their notice ot
       whether or not they intend to proceed with their case. Although this court
       order requires either a positive or negative notice of intent to proceed to
       be filed by each plaintiff, failure to file in a timely manner will           be
       understood by the court as indication that the individual does not wish to
       proceed and that the plaintiffs case should be dismissed.

        As of March 3, 2015, plaintiff has not filed a notice with the court. Therefore,
plaintiffs claims are DISMISSED. The Clerk's Office shall enter JUDGMENT consistent
with this Order.

      As Mr. Allen's case is dismissed, John Brack's case, case no. 12-4209C. shall be
considered the lead case for the two remaining cases: Mr. Brack's case no. 12-4209C,
and Carrie Landon's case, case no. 12-4212C.


       IT IS SO ORDERED.
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                                                          BLA{K HoRN
                                                                Judge
